     Case 4:17-cr-00208-JRH-CLR Document 357 Filed 05/07/18 Page 1 of 1
                                                                   jI —im
                                                               OtSTRiCT rnno r
                                                    SAV'AfinAH DIV
             IN THE UNITED STATES DISTRICT COURT, FOR
                 THE SOUTHERN DISTRICT OF GEORGIA^'" f-7 pfj                  qj
                           SAVANNAH DIVISION
                                                       CLERt
UNITED STATES OF AMERICA,                                          • OF GA.

V.                                            Case No.     CR417-208


TINA MARIE ADKINS,
                 Defendant.




      Justin D. Maines counsel of record for defendant Tina Marie

Adkins in the above-styled case has moved for leave of absence.

The Court is mindful that personal and professional obligations

require the absence of counsel on occasion. The Court, however,

cannot accommodate its schedule to the thousands of attorneys who

practice within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and           trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.



      SO ORDERED this      /^ day of May 2018.




                                   WILLIAM T. MOORE, JR., JUDGE
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
